Case 0:06-cr-60350-JIC Document 854 Entered on FLSD Docket 07/23/2018 Page 1 of 4



                         UN ITED STATES D ISTRICT COU RT
                         SOU THERN D ISTRICT O F FLORIDA               j
                                                                       ci ,-.o fsy.                (; c

                                                                              JgL 22 2218
  UNITED STATES 0F AM ERICA ,                                                STEVEN M.LARIMORE
                                                                              CLERK U.S.DISI CT2
                                                                             S.D.OFFLA.FI I
                                                                                          W UD.

        Plaintif,
                                                     CaseN o:
                                                     06-60305cr-CO HN /SELTZER



  K EVIN BAPTISTE

         Defendant.

                                                 /

       M O TIO N FO R EA RLY TERM TNATIO N O F SUPERV ISED R ELEA SE


        COM ES NOW,KEW N BAPTISTE,(herein afterir efendanf'),proceeding pro
  se,and pursuantto 18 U.S.C.j 3583/),respectfully movesthisHonorableCourt to
  terminatehisterm ofsupervised release,and in supportthereo: statesthefollowing:

                       R ELEVA NT FA CTUAL BA CK G R O UN D

        On A ugust 3, 2007, D efendant pleaded guilty to Counts 1 and 26 of an

  indictm ent, respectively charging him w ith: Conspiracy with intent to dishibute m ore

  than five kilogram s of cocaine in violation of 21 USC j 841(a)(1)(B)(1)(A), and

  Possession w ith intent to distribute m ore than 500 gram s of cocaine in violation of 21




                                             1
Case 0:06-cr-60350-JIC Document 854 Entered on FLSD Docket 07/23/2018 Page 2 of 4



  USC j 841 (a)(1)(b)(1)(B).On O ctober 25, 2007, D efendant w as sentenced to 160
  m onths to the custody of the Federal Bureau of Prisons,to be follow ed by five years

  supervised release.


        On M ay 11,2015,H onorable Judge Colm issued an order granting D efendant's

  M otion for Reduction of Sentence under 18 USC j 3582(c)(2), thereby reducing

  Defendant'ssentenceto 130months.(Doc.801)

        On January 7,2016,Defendantw asreleased to the halfway house, and on July 24,

  2016,hebegan to serve his five yearterm ofsupervised release.


                                     A RG U M ENT


         Defendantm oves forearly term ination ofsupervised releasepursuantto 18 U .S.C.

  j 3583(e)which provides,thatthe courtmay,after considering the factors setforth in
  said section ofthe U SC,m ay term inate a term of supervised release and discharge the

  defendant released at any tim e aûer the expiration of one year of supervised release,

  pursuant to the provisions of the Federal Rules of Crim inal Procedure relating to the

  m odification ofprobation,ifitis satisfied thatsuch action isw arranted by the conductof

  thedefendantreleasedandtheinterestofjustice.18U.S.C.j3583(e)(1).




                                             2
#   Case 0:06-cr-60350-JIC Document 854 Entered on FLSD Docket 07/23/2018 Page 3 of 4



            Defendantlzrgesthis Courtto considerthe follow ing undisputed factsrequired by

      1aw for him to obtain relief.To dem onstrate hisdeep regretforhispastcrim inalconduct,

      Defendantpleaded guilty and cooperated fully with the govem m ent's prosecution ofhis

      case. M ile in the custody of the Federal Bureau of Prison, D efendant vigorously

      participated in m any ofthe BOP'seducationalprov am sdesigned to help him progressto

      towards rehabilitation. A s a result, D efendant had obtained his GED certificate and

      othercertifk atesnecessary to furtherhiseffortsatfullrehabilitation.


            From the tim e of his release,D efendanthas fully com plied with a11rules of the

      halfway house.He has m aintained a stable residence and hasbeen gainfully em ployed,

      thus m anifesting his determ ination to achieve the status of a being considered a

      productiveand law -abiding m em berofhis com m tm ity.


            Finally.Defendanturges the Courtto carefully consider and valuethe factthathis

      cooperation w ith the governm entrenected his determ ination to perm anently refrain from

      any and al1crim inalactivities.A s such,he has m ade up his m ind notto engage in any

      activity thatwould pose any dangerto hiscom m unity,butinstead w ould becom ean asset

      thereof.




                                                  3
Case 0:06-cr-60350-JIC Document 854 Entered on FLSD Docket 07/23/2018 Page 4 of 4



        Defendant has com plied fully with a11 the conditions of his term of supervised

  release to the satisfaction ofhisprobation oG cer.


        Thus, the Eiconduct of the defendant''from the tim e of his guilty plea and full

  cooperation with the govem m ent,along w ith his diligent eflbrts tow ards rehabilitation,

  would justify an action by this Courtto terminate Defendant'shisterm ofsupervised

  release.18USC j3583(e)(1).

        W HEREFORE,intheinterestofjustice,Defendantrespectfully movesthis
  Honorable Courtto issue an orderterm inating histerm ofsupervised release.



                                               Respectfully subm itted;



                                                  z/- wv>
                                               K EVIN BAPTISTE,Pro Se
                                               1062 Long lsland Ave,
                                               FortLauderdale,FL 33313


  DATED :20th day ofJuly,2018




                                              4
